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                                UNITED STATES DISTRICT COURT
14
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                        OAKLAND DIVISION
16

17    WHATSAPP INC., a Delaware corporation,
                                        )         Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware    )
18    corporation,                      )
                                        )         PLAINTIFFS’ OPPOSITION TO
19                    Plaintiffs,       )         DEFENDANTS’ MOTION TO DISMISS
                                        )         PLAINTIFFS’ REQUEST FOR
20           v.                         )         INJUNCTIVE RELIEF UNDER RULE
                                        )         12(B)(1)
21    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )          Date: July 29, 2020
22                                      )          Time: 9:00 a.m.
                      Defendants.       )          Ctrm: 3
23                                      )
                                        )          Judge: Hon. Phyllis J. Hamilton
24                                      )          (Hearing vacated by Dkt. No. 107)
                                        )
25                                      )          Action Filed: October 29, 2019
                                        )
26                                      )

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 1                                             INTRODUCTION

 2          Defendants’ business model and suite of products are dependent on exploiting software

 3   vulnerabilities in order to covertly access mobile devices for surveillance. (Compl. ¶¶ 24–25.)

 4   Defendants do not contest that they have engaged in this business since at least 2010 and continue

 5   to this day. (See Compl. ¶ 5; Defs.’ Mot. to Dismiss at 6, Dkt. 45.) Nonetheless, Defendants ask

 6   this Court to conclude before discovery that Defendants do not pose a substantial risk of future

 7   harm because Plaintiffs identified and closed one particular vulnerability they had exploited. (See

 8   Defs. Mot. to Dismiss Pls.’ Request for Injunctive Relief (“Mot.”) at 1, Dkt. No. 105.) However,

 9   Defendants’ admitted business model, their history of attacks, and their proclaimed intent to adapt

10   their methods in the face of new hurdles all demonstrate that Defendants will continue this practice

11   unless stopped by this Court. This is a quintessential case for injunctive relief and Defendants’

12   motion should be denied.

13          Defendants challenge Plaintiffs’ Article III standing to pursue injunctive relief on only one

14   ground. (See id. at 5.) Specifically, because Plaintiffs have closed the vulnerability that

15   Defendants exploited in the 1,400 attacks uncovered in April 2019, Defendants contend that

16   Plaintiffs lack an injury that is “actual or imminent, not conjectural or hypothetical.” Friends of the

17   Earth, Inc. v. Laidlaw Envtl. Servs. (TOC) Inc., 528 U.S. 167, 180 (2000). According to

18   Defendants, the Court is powerless to issue injunctive relief unless Plaintiffs can show that

19   Defendants will exploit the exact same technical vulnerability again. But that is not the standard

20   for injunctive relief. Rather, a plaintiff seeking prospective injunctive relief must demonstrate “a

21   sufficient likelihood that [it] will again be wronged in a similar way.” Bates v. United Parcel Serv.,

22   Inc., 511 F.3d 974, 985 (9th Cir. 2007) (emphasis added) (quoting City of Los Angeles v. Lyons,

23   461 U.S. 95, 111 (1983)). The risk of similar harm in the future need not be a literal certainty—to

24   the contrary, a “‘substantial risk’ that the harm will occur” suffices. Susan B. Anthony List v.

25   Driehaus, 573 U.S. 149, 158 (2014) (citation omitted).

26          Plaintiffs easily clear this bar. The complaint alleges a substantial risk that—if not

27   enjoined—Defendants will continue to engage in the same kinds of unlawful conduct alleged in the

28   complaint, including attempting to infiltrate and infiltrating Plaintiffs’ computers and servers to
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 1   target their users. (See, e.g., Compl. ¶¶ 24–25, 45.) For a decade, Defendants have been in the

 2   business of discovering and exploiting technical vulnerabilities, like the one Plaintiffs caught them

 3   using in May 2019, to “remotely and covertly extract valuable intelligence from virtually any

 4   mobile device.” (Id. Ex. 10 (emphasis added).) Indeed, after Plaintiffs patched the vulnerability

 5   that came to light in May 2019, Defendants complained that Plaintiffs had “closed [Defendants’]

 6   biggest” entry point, but not the only one. (Id. ¶ 45 (emphasis added).) Defendants have also

 7   assured their customers that “their designs constantly evolve to keep pace with an ever-changing

 8   cyber world.” (Id. Ex. 4 at 2.) The notion that Plaintiffs’ having found and patched one particular

 9   vulnerability eliminates any risk of future harm is fanciful given Defendants’ proclaimed intent to

10   the contrary.

11             Absent judicial intervention, there is a substantial risk that Defendants will continue to seek

12   unauthorized access to the devices and systems of Plaintiffs and their users. This Court is

13   empowered to redress that risk with injunctive relief. The motion should be denied.

14   I.        BACKGROUND
15             Defendants NSO Group Technologies Inc. and Q Cyber Technologies Inc. (together,
16   “NSO”) manufacture, distribute, and operate surveillance technology designed to intercept and
17   extract information and communications from mobile phones. (See Compl. ¶¶ 24–29; see also
18   Defs.’ Mot. to Dismiss at 6, Dkt. 45 (acknowledging that selling of spyware and providing related
19   support is “Defendants’ business model”).) NSO’s products are “designed to be remotely installed
20   and enable the remote access and control of information—including calls, messages, and location—
21   on mobile devices using the Android, iOS, and BlackBerry operating systems.” (See Compl.
22   ¶ 24.)1
23             Once installed on a device, NSO’s spyware can collect and exfiltrate private information,
24   including the phone’s location, camera, microphone, memory, and hard drive, as well as private
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26   1
      Although NSO has repeatedly tried to portray this as a case about just one of its products—
     Pegasus—the complaint is not restricted to that product, but instead relates to all of NSO’s
27   unauthorized access to WhatsApp servers, regardless of which of NSO’s spyware products was
     used.
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 1   emails, calls, texts, and messages sent via WhatsApp and other services. (See id. ¶¶ 24–29.) NSO

 2   advertises to potential customers that at least one version of its spyware can “remotely and covertly

 3   extract valuable intelligence from virtually any mobile device” (id. Ex. 10), and its services “meet

 4   the challenges of encryption” (id. Ex. 8). In particular, publicly available marketing materials tout

 5   NSO’s ability to “[m]onitor . . . WhatsApp [and] Facebook.” (Id. Ex. 10.)

 6          NSO designed a program that would exploit a vulnerability in the WhatsApp app by:

 7   (i) emulating legitimate WhatsApp network traffic while hiding malware transmitted to users;

 8   (ii) circumventing technical restrictions and security measures that prevent users from altering

 9   network call settings; (iii) manipulating those settings to covertly transmit malicious code through

10   WhatsApp servers and inject the code into users’ devices; and thereafter (iv) transmitting additional

11   malware that gave NSO and its customers remote access to the devices. (Id. ¶¶ 32, 35–48, 60–61.)

12   NSO ultimately deployed this spyware program to target approximately 1,400 devices belonging to

13   WhatsApp users, a group that includes attorneys, journalists, human rights activists, and

14   government officials. (Id. ¶ 42.)

15          WhatsApp and Facebook closed that vulnerability, contacted law enforcement, and advised

16   users to update the WhatsApp app. (Id. ¶ 44.) One of NSO’s employees subsequently complained

17   that WhatsApp had “just closed [NSO’s] biggest” means to install its malware. (Id. ¶ 45; see also

18   id. Ex. 10 (Pegasus Product Description noting that “[t]he Pegasus system supports various

19   installation methods,” including multiple “Remote Installation” vectors (emphasis added)).) The

20   attacks damaged Plaintiffs’ goodwill and forced them to incur costs to investigate and prevent

21   NSO’s hacking activities, including updating the WhatsApp app. (Id. ¶¶ 44–45, 57.)

22          But NSO will not be closing up shop just because one particular attack was stopped. To the

23   contrary, as its advisor announced: “NSO Group solutions are developed and maintained by a team

24   of cyber-intelligence and cellular communications experts who operate at the forefront of their

25   fields. Their designs constantly evolve to keep pace with an ever-changing cyber world.” (Id.

26   Ex. 4 at 2 ((emphasis added)).)

27          Plaintiffs seek an injunction, among other things, to prevent NSO from accessing Plaintiffs’

28   services to research their technology, reverse engineer their software, and engage in future cyber
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 1   attacks directed at Plaintiffs’ systems and their users’ devices. NSO’s full-throated defense of its

 2   conduct and admitted “business model” only confirms its intention of continuing the same practices

 3   in the future unless stopped by the Court. (See, e.g., Defs.’ Mot. to Dismiss at 2–7, Dkt. 45.)

 4   II.       LEGAL STANDARD

 5             When analyzing Article III standing at the motion to dismiss stage, the court “must accept

 6   as true all material allegations of the complaint and must construe the complaint in favor of the

 7   complaining party.” Maya v. Centex Corp., 658 F.3d 1060, 1068 (9th Cir. 2011) (citing Warth v.

 8   Seldin, 422 U.S. 490, 501 (1975)). “[G]eneral factual allegations of injury resulting from the

 9   defendant’s conduct may suffice, for on a motion to dismiss,” the court “presume[s] that general

10   allegations embrace those specific facts that are necessary to support the claim.” Id. (quoting Lujan

11   v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)).

12             To have standing under Article III to pursue injunctive relief, a plaintiff must allege “that

13   (1) it has suffered an ‘injury in fact’ that is (a) concrete and particularized and (b) actual or

14   imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action

15   of the defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be

16   redressed by a favorable decision.” Friends of the Earth, Inc., 528 U.S. at 180–81. For prospective

17   relief, a plaintiff must allege a “real or immediate threat that the plaintiff will be wronged again.”

18   Lyons, 461 U.S. at 111. This does not require a showing that “it is literally certain that the harms

19   [plaintiffs] identify will come about[;]” instead a plaintiff may demonstrate standing based on a

20   “‘substantial risk’ that the harm will occur.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5

21   (2013).

22             Standing to pursue injunctive relief also does not require a plaintiff to show that a defendant

23   is certain to repeat a particular past instance of unlawful conduct, causing the exact same harm

24   again. Instead, it suffices to show an injury-in-fact and “a sufficient likelihood that [plaintiff] will

25   again be wronged in a similar way.” Bates, 511 F.3d at 985 (quoting Lyons, 461 U.S. at 111)

26   (emphasis added). As part of this analysis, “past wrongs are evidence bearing on whether there is a

27   real and immediate threat of repeated injury.” Id. (citation omitted). Moreover, “bad faith conduct

28   that indicates that [defendants] will not easily be deterred from attempting to access [plaintiffs’]
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 1   servers without authorization” suffices to demonstrate that a plaintiff will suffer irreparable harm

 2   again in the future. Facebook, Inc. v. Power Ventures, Inc., 252 F. Supp. 3d 765, 782 (N.D. Cal.

 3   2017), aff’d, 749 F. App’x 557 (9th Cir. 2019).

 4   III.    PLAINTIFFS HAVE STANDING TO PURSUE INJUNCTIVE RELIEF
 5           NSO contends that Plaintiffs have not established an “actual or imminent” injury-in-fact

 6   because Plaintiffs closed the particular vulnerability that NSO exploited in May 2019 and NSO

 7   cannot exploit the same vulnerability again. (Mot. at 5–7.) 2 That contention ignores the full scope

 8   of Plaintiffs’ allegations regarding NSO’s misconduct and misunderstands the applicable legal

 9   standard. As alleged in the complaint and detailed below, Plaintiffs have shown the requisite

10   “substantial risk” of future harm here, and easily satisfy the standing requirements for injunctive

11   relief. First, a substantial risk of future harm arises from the very nature of NSO’s business model,

12   which is to discover and exploit technical vulnerabilities in order to extract information from

13   victims’ phones. Those unlawful activities are not limited to the May 2019 attacks. Where, as

14   here, a defendant’s business model depends on covertly compromising mobile devices, a

15   substantial risk of harm exists. Second, the fact that NSO has already hacked Plaintiffs’ systems

16   and users in violation of law powerfully supports the risk of future harm. The fact that one

17   particular vulnerability has been identified and remediated does not negate the risk of future harm,

18   it substantiates it. To establish standing, the future harm need not be identical, and NSO’s declared

19   intent to “continue evolving” in order to overcome such hurdles makes clear that a risk of “similar”

20   harm in the future exists. Nothing more is required. Third, NSO has made plain it will not be

21   deterred absent Court order and that it fully intends to continue engaging in the same and similar

22   conduct. Fourth, the enormous popularity of Plaintiffs’ services makes Plaintiffs the prime targets

23   for NSO’s future efforts, and further demonstrates the substantial risk that NSO will continue to

24   target those services in the future, as it has done in the past. In short, the facts alleged in the

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       Notably, NSO does not dispute that Plaintiffs have adequately pled the other elements of standing.
     (See Mot. at 5–7.)
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 1   complaint as to NSO’s business model, its past conduct and its declared future intentions, along

 2   with Plaintiffs’ enormous number of users, create a real and immediate threat of future harm.

 3          A.      NSO Operates an Unlawful Hacking Business that Targets Plaintiffs’ Servers
                    and Software
 4

 5          NSO’s cramped reading of the complaint, and its focus on the allegations that NSO

 6   perpetrated one type of attack and Plaintiffs closed one specific vulnerability, overlooks that NSO’s

 7   core objective is to develop and launch such attacks. NSO is in the business of discovering and

 8   exploiting vulnerabilities like the one that Plaintiffs closed in May 2019 for the specific purpose of

 9   “extract[ing] valuable intelligence from virtually any mobile device,” “remotely,” “covertly,” and

10   without authority to do so. (Compl. Ex. 10; see also id. ¶ 24 (“Defendants manufactured,

11   distributed, and operated surveillance technology or ‘spyware’ designed to intercept and extract

12   information and communications from mobile phones and devices.”); id. ¶ 25 (Defendants “used

13   other malware delivery methods”); id. ¶ 27 (spyware was “modular” and “could be customized for

14   different purposes”).)

15          The fact that this admitted “business model” entails ongoing violations of law on its own

16   establishes a substantial risk of future harm sufficient to support standing. Wholly apart from

17   whether any particular attack in the future is successful, NSO’s probing Plaintiffs’ servers and

18   software for vulnerabilities and selling products designed to exploit them on its own violates at least

19   the WhatsApp Terms of Service and California law. (See id. ¶¶ 22, 58–66; see also Craigslist, Inc.

20   v. Naturemarket, Inc., 694 F. Supp. 2d 1039, 1057 (N.D. Cal. 2010) (Hamilton, J.) (holding that

21   “knowingly and without permission provided a means of accessing its computers through their use

22   and selling of their auto-posing software, services, and devices” violates the CCCDAFA). Even

23   putting aside all of the well-pleaded allegations that NSO has hacked Plaintiffs’ servers and users

24   and intends to do so again, NSO’s ongoing efforts to seek a way to attack Plaintiffs is itself a

25   violation of law. The substantial risk of future harm from these ongoing activities does not require

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 1   any attenuated chain of assumptions and suffice on their own to establish Article III standing to

 2   pursue injunctive relief. 3 Cf. Clapper, 568 U.S. at 410.

 3           Courts have routinely awarded prospective injunctive relief where, as here, a defendant’s

 4   very business model entails a substantial risk of future violation. For example, Craigslist, Inc. v.

 5   Kerbel, 2012 WL 3166798 (N.D. Cal. Aug. 2, 2012), also involved a defendant whose business

 6   model consisted of “developing, offering, and marketing services” that would enable defendants’

 7   customers to “circumvent [plaintiff’s] security measures” in violation of the CFAA and the

 8   CCCDAFA. Id. at *2. In these circumstances, the court concluded there was “a likelihood of

 9   future harm absent injunctive relief” because the “Defendant’s website was still operable as of the

10   filing of its complaint.” Id. at *16, 19. In granting plaintiff’s request for injunctive relief, the court

11   did not restrict its injunction to the specific services that defendant had developed and marketed in

12   the past, but instead enjoined the defendant from “[m]anufacturing, developing, creating, . . . [or]

13   selling . . . any program, device, or service that is . . . designed to circumvent security measures on

14   the craigslist website.” Id. at *16, 19 (emphasis added). Plaintiffs have standing to seek the same

15   relief here.

16           B.      The Identification and Remediation of NSO’s May 2019 Attacks Do Not Negate
                     the Risk of Future Harm, But Rather Support Plaintiffs’ Standing to Seek an
17                   Injunction
18           NSO contends that Plaintiffs lack standing to seek injunctive relief because one instance in

19   which NSO’s hacking succeeded has been identified and remediated. (Mot. at 5–6.) That

20   argument has it exactly backwards. The fact that NSO has already deliberately identified and

21   aggressively exploited a vulnerability in violation of law supports the substantial risk of future

22   attacks on Plaintiffs’ servers and computers, and thus supports Plaintiffs’ standing. See Bates, 511

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      NSO also contends that enjoining it from accessing Plaintiffs’ services would not remedy the
25   harms identified in the complaint, purportedly because “Plaintiffs would not be injured by NSO’s
     mere use of their services for innocent purposes.” (Mot. at 7 n.7.) That misses the point. Enjoining
26   NSO from accessing Plaintiffs’ services will surely redress the harm that arises when it does so
     unlawfully. And if NSO has a lawful “innocent purpose” for using Plaintiffs’ services that does not
27   violate Plaintiffs’ terms of service, the injunction can be tailored accordingly. But NSO identifies
     no such purpose, and its speculation is no reason to cut off injunctive relief entirely.
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 1   F.3d at 985 (“[P]ast wrongs are evidence bearing on whether there is a real and immediate threat of

 2   repeated injury.” (citation omitted)).

 3            As a threshold point, it would be contrary to the facts alleged in the complaint to suggest

 4   that the identified vulnerability presented the only risk. In fact, after Plaintiffs closed the

 5   vulnerability, an NSO employee complained that, “You just closed our biggest remote [access

 6   point] for cellular [devices],” but tellingly did not state it was the only vulnerability that NSO was

 7   exploiting or could exploit. (Compl. ¶ 45 (emphasis added).) That concession is also entirely

 8   consistent with Defendants’ description of one of their spyware products as “the most

 9   comprehensive and flexible solution” because it “provides a wide range of tools.” (Id. Ex. 10.)

10            Moreover, NSO’s brazen suggestion that the remediation of this particular vulnerability

11   negates any future risk is directly contrary to its own proclaimed intent to “constantly evolve” in

12   the face of new challenges. (Id. Ex. 4 at 2.) NSO has long recognized that the introduction of such

13   hurdles is part and parcel of the “ever-changing cyber world” and has assured customers that “their

14   designs constantly evolve to keep pace” with those changes. (Id.; id. Ex. 8 (describing NSO’s

15   leading team of experts as “dedicated to keeping pace with the ever-changing cyber world”)). The

16   Court is not rendered powerless to enjoin future violations of law merely on the basis that the

17   “constant evolution” of NSO’s designs may cause future attacks to differ from those identified in

18   the past. See Bates, 511 F.3d at 985. The law does not condone or require such a game of cat-and-

19   mouse.

20            Rather, contrary to NSO’s suggestion, the alleged risk of harm does not need to be the result

21   of the exact same spyware or exploitation of the exact same vulnerability, but merely needs to be

22   “similar” to such prior conduct. See id. (explaining that “a sufficient likelihood that [plaintiffs] will

23   again be wronged in a similar way” suffices for standing to enjoin future attacks (citation omitted

24   and emphasis added)). Given that NSO is in the business of identifying and exploiting such

25   vulnerabilities, its prior attacks establish a sufficient likelihood that it will perpetrate the same types

26   of attacks in the absence of injunctive relief.

27            Tagged Inc. v. Does 1 through 10 likewise involved a defendant whose tactics constantly

28   evolved in the face of plaintiff’s security measures. 2010 WL 370331, at *2 (N.D. Cal. Jan. 25,
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 1   2010). Specifically, although plaintiff had “instituted a number of technological security measures”

 2   to prevent the defendants’ wrongful activities, defendant had “deliberately implemented . . . tactics

 3   to circumvent plaintiff’s security measures.” Id. at *12. The court thus held that “plaintiff

 4   sufficiently ha[d] demonstrated a reasonable likelihood of defendant’s future violations” and

 5   entered a permanent injunction. Id. The fact that plaintiff had guarded against prior methods did

 6   not negate the risk of future harm. Similarly here, although Plaintiffs take extensive security

 7   precautions (see Compl. ¶¶ 16, 18), NSO has deliberately circumvented those measures in the past

 8   and holds out to the marketplace its ability to circumvent them in the future (see, e.g., id. ¶ 37

 9   (alleging NSO used “malicious code” to “avoid the technical restrictions built into WhatsApp”); id.

10   Ex. 8 (describing NSO’s leading team of experts as “dedicated to keeping pace with the ever-

11   changing cyber world”)). There can be no doubt that Plaintiffs have standing to seek relief to stop

12   NSO’s unlawful conduct.

13          C.      NSO Plainly Intends to Continue Engaging in the Same and Similar Conduct

14          NSO’s full-throated defense of its conduct and business model further underscore its intent

15   to continue engaging in the same and similar acts. This is not a case of a repentant defendant who

16   has disavowed the challenged conduct or taken steps to prevent its reoccurrence. Far from it. NSO

17   not only stands by its past conduct but in fact seeks to present it as a beneficial public service,

18   analogizing its unlawful hacking to the conduct of police opening a locked door. (Defs.’ Mot. to

19   Dismiss at 1, Dkt. 45.) And, NSO argues, it is immune from suit and thus cannot be held to

20   account—or stopped—by this Court. (See id. at 8–10.) Because there is no reason to believe NSO

21   intends to stop the challenged conduct unless enjoined, Article III standing exists. See Doe 1 v.

22   AOL LLC, 719 F. Supp. 2d 1102, 1109 (N.D. Cal. 2010) (finding Article III standing requirements

23   for the purposes of injunctive relief where plaintiff alleged that defendant had “engage[d] in a

24   practice and policy of storing search queries containing confidential information,” and had “taken

25   no steps to ensure that such information is not disclosed again in the future”).

26          “Permanent injunctive relief is warranted where, as here, defendant’s past and present

27   misconduct indicates a strong likelihood of future violations.” Orantes-Hernandez v. Thornburgh,

28   919 F.2d 549, 564 (9th Cir. 1990). For example, in Planned Parenthood Federation of America,
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 1   Inc. v. Center for Medical Progress, the court rejected defendants’ arguments that plaintiff could

 2   point to no wrongful acts since the initial violation, and found instead that because defendants

 3   demonstrated a “continued reliance on those tactics,” there was a “real threat of defendants utilizing

 4   them in the future.” 2020 WL 2065700, at *17 (N.D. Cal. Apr. 29, 2020); see also id. at *18

 5   (“[P]laintiffs have standing to seek injunctive relief because of the realistic likelihood that

 6   defendants will continue their conduct . . . either directly or through individuals acting in concert

 7   with them.”); see also City & Cty. of San Francisco v. Tutor-Saliba Corp., 2005 WL 645389, at

 8   *15 (N.D. Cal. Mar. 17, 2005) (city and county faced a real threat that defendant would again bid

 9   for and obtain public works contracts from plaintiffs by using the “same unfair business tactics”

10   they had used before).

11          Similarly, in Facebook, Inc. v. Power Ventures, Inc., Facebook sought injunctive relief

12   against defendants’ business, which was premised on obtaining Facebook users’ login information

13   and scraping Facebook data in violation of state and federal law. 252 F. Supp. 3d at 768–69. Even

14   though defendants “ceased doing business altogether” years before the injunction issued, the court

15   concluded that it was “very likely that Facebook will suffer irreparable harm again” because

16   “Defendants have frequently exhibited bad faith conduct that indicates that they will not easily be

17   deterred from attempting to access Facebook’s servers without authorization in violation of the

18   CFAA and [CCCDAFA].” 252 F. Supp. 3d at 782; see also id. at 783 (“Defendants’ actions

19   suggest that Defendants may continue to access Facebook’s servers unless they are strongly

20   deterred. Thus, not only has Facebook suffered irreparable harm, it is very likely that in the

21   absence of a permanent injunction, Facebook will suffer irreparable harm again in the future.”).

22   These principles apply squarely here.

23          Unsurprisingly, none of the cases NSO cites involve a defendant whose conduct so strongly

24   indicated that it would continue to engage in the alleged wrongdoing in the future. Instead, its

25   cases involve unintentional defects or well-intentioned ancillary business practices, which had

26   already been remedied by repentant defendants. See, e.g., Palmer v. Apple Inc., 2016 WL 1535087,

27   at *4 (N.D. Cal. Apr. 15, 2016) (fixed defect in iOS update); Matera v. Google Inc., 2016 WL

28   5339806, at *15–16 (N.D. Cal. Sept. 23, 2016) (ceased practice of scanning emails for targeted
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 1   advertising); Backhaut v. Apple Inc., 2015 WL 4776427, at *8–9 (N.D. Cal. Aug. 13, 2015)

 2   (stopped practice of preventing receipt of text messages); see also Villa v. Maricopa County, 865

 3   F.3d 1224, 1229 (9th Cir. 2017) (terminated law enforcement wiretap); Federated Univ. Police

 4   Officers’ Ass’n v. Regents of Univ. of Cal., 2016 WL 9107427, at *6 (C.D. Cal. Aug. 18, 2016)

 5   (similar). Nor is this a case where Plaintiffs can “opt out” and unilaterally avoid NSO’s future

 6   reverse engineering and cyber attacks. See, e.g., Phillips v. Apple Inc., 725 F. App’x 496, 498 (9th

 7   Cir. 2018) (plaintiffs could not be injured by “future updates” of application because they “could

 8   choose not to install updates, or they could install them and immediately disable” them). No case

 9   prevents a plaintiff from enjoining defendants who had taken no steps to ameliorate plaintiffs’

10   concerns, and instead proclaimed an intent to persist in the challenged conduct to adapt their

11   methods to defeat plaintiff’s countermeasures.

12          NSO’s declared intent to persist in its business and indeed to adapt its tactics in response to

13   Plaintiffs’ countermeasures powerfully support the substantial risk of future harm, and require

14   denial of NSO’s motion.

15          D.      The Broad Reach of Plaintiffs’ Services Further Supports the Likelihood that
                    NSO Will Continue to Target them if Not Enjoined
16

17          The sheer scale of Plaintiffs’ platforms and users make them a prominent target for NSO’s

18   exploits. For example, over 1.5 billion people in 180 countries use the WhatsApp Service, an end-

19   to-end encrypted communication service available on mobile devices. (Compl. ¶¶ 17–18.) It is

20   therefore unsurprising that NSO has long promoted its specific ability to monitor Plaintiffs’

21   services in particular. (See id. Ex. 10 (touting Pegasus’ ability to “[m]onitor . . . WhatsApp [and]

22   Facebook”).) NSO’s demonstrated conduct of targeting Plaintiffs’ services in particular—and

23   promoting its ability to do so—supports the substantial risk that NSO has continued and will

24   continue to target those same services, which will violate the same laws that Plaintiffs assert here if

25   allowed to proceed. This further demonstrates the existence of a “real or immediate threat that the

26   [Plaintiffs] will be wronged again,” and confirms Plaintiffs’ standing to seek injunctive relief.

27   Lyons, 461 U.S. at 111.

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 1                                              CONCLUSION

 2          Plaintiffs allege that NSO is engaged in the business of hacking Plaintiffs’ services, without

 3   authority to do so, and in violation of contractual and statutory prohibitions. That Plaintiffs

 4   discovered and remediated one technical vulnerability that NSO exploited does not negate the

 5   actual and imminent risk that NSO will inflict similar harm on them in the future if not enjoined.

 6   Nor does NSO’s motion suggest that Plaintiffs need not fear such harm—instead NSO brazenly

 7   argues that its future infiltrations are beyond the power of this Court to redress or prevent. That is

 8   not the law. NSO’s motion should be denied.

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      Dated: July 8, 2020                           Respectfully Submitted,
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